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                    THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

IN THE MATTER OF CASES                         )      MEMORANDUM
PENDING SENTENCING BEFORE                      )      AND ORDER
JUDGE RICHARD G. KOPF                          )


      Judge Bataillon is a dear friend and wonderful colleague. He is also smart, and
thoughtful. He has published an opinion that holds:

      Under the circumstances, the court finds that it should err on the side of
      caution in protecting a criminal defendant’s constitutional rights. The
      principal of constitutional avoidance mandates that the federal
      sentencing statutes should be construed to avoid the difficult
      constitutional question of whether the imposition of a harsher
      sentence—whether characterized as a Guidelines sentence, a departure,
      or a deviance—violates due process when the greater punishment is
      based on facts found under a standard lower than proof beyond a
      reasonable doubt.

United States v. Kwame Okai, 2005 WL 2042301, at *10 (D. Neb. Aug. 22, 2005).

       Because I disagree with that opinion, because that opinion strikes at the heart
of the sentencing process in the District of Nebraska, and because the lawyers and
probation officers in the District of Nebraska need to know whether other Nebraska
judges will follow Judge Bataillon’s views, I offer my own.

       In the non-death-penalty context, I respectfully disagree with his assertion that
the Fifth Amendment requires a judge to find facts beyond a reasonable doubt when
sentencing a defendant who has been previously found guilty after a trial or a plea
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that complies with Constitutional requirements. Nothing in Booker,1 Blakely,2 or
Apprendi3 compels or justifies such an assertion. Indeed, one need only read the
cases Judge Bataillon cites to recognize the legal weakness of his views. Once the
ordinary criminal has been found guilty by plea or trial that complies with the
Constitution, there is no applicable precedent for cloaking an undisputably guilty
person with the Constitutional protections intended for the innocent.

       If the Fifth Amendment is to be expanded beyond any currently recognized
legal boundaries, that decision should be left to the Court of Appeals or the Supreme
Court, bodies far better suited than individual district judges to “discovering” new
Constitutional rights. Booker and its (tangled) predecessors do not provide a
legitimate invitation for district judges to implement their personal policy views about
proof standards. See, e.g., United States v. Pirani, 406 F.3d 543, 551 n.4 (8 th Cir.
2005) (en banc) (“Nothing in Booker suggests that sentencing judges are required to
find sentence-enhancing facts beyond a reasonable doubt under the advisory
Guidelines regime.”).

       In the end, and while what Judge Bataillon proposes may be good policy
(although I doubt it), his newly discovered Constitutional right to “proof beyond a
reasonable doubt” at sentencing is like the mythological chimera (a fire-breathing
she-monster with a lion’s head, a goat’s body, and a serpent’s tail). It is the product
of an agile mind, but it has no claim to the here and now.




      1
       United States v. Booker, ___ U.S. ___, 125 S. Ct. 738 (2005).
      2
       Blakely v. Washington, 542 U.S. 296 (2004).
      3
       Apprendi v. New Jersey, 530 U.S. 466 (2000).
                                          -2-
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      IT IS ORDERED:

      1.   Judge Kopf will not follow Judge Bataillon’s “reasonable doubt”
           standard at sentencing; and

      2.   The Clerk of the United States District Court for the District of
           Nebraska shall file this Memorandum and Order in all pending criminal
           cases assigned to Judge Kopf.

      August 31, 2005.
                                            BY THE COURT:
                                            s/ Richard G. Kopf
                                            United States District Judge




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